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                                                         of 32 PageID #: 387
                                                                    3:20 pm, Aug 04, 2022

                                                                     U.S. DISTRICT COURT

                                                              EASTERN DISTRICT OF NEW YORK
 NS:I(MTA{MA
 F. #2020R00304

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                        x            1:20-cr-00323(AMD(RLM)

 UNITED STATES OF AMERICA                            SUPERSEDING
                                                           ME
        - against -
                                                     Cr. No. 20-323 (S-3) (AMD)
 DARRIUS SUTTON,                                     (T. 18, U.S.C., $$ 922(g)(1),
    also known as "Darius Sutton"                     e24 (a)(2), e2a (c) ( I )(A) (i),
    and"Blizz Meecho,"                                92a(cX 1 XA)(ii), e24(cx 1 XAXiiD,
 TRAVA SELBY,                                         e24 (d)(r), 9 82(a) (2), 9 8 2 (a) (2) (B),
    also known as "Stoney,"                           9S2(bXl ), 1 028(a)(7), 1 028(bX2XD),
 ANDREW SIMPSON,                                      I 028(cX3)(A), I 028A(aXl ),
    also known as "Drew" and                          1028A(b), 1028A(cX4), 1028A(c)(5),
    "Drewski,"                                        1 029(a)( 1 ), r029(a)(2), I 029(a)(5),

 TYSHAWN SUMPTER,                                     1 02e(b)(1 ), I 02e(c)(l XA)(i),

    also known as "GT" and                            I 02e(c)( 1 XAXiD, I 029(c)(1)(C),
    "Bamalife GT,"                                    I 029 (c)(2), 13 49, 19 59(aX3 ),
 RONNIE WARREN,                                       1 959(a)(5), 1 959(a)(6), t962(d),

    also known as "Bossman                             1963, 1963(a), 1 963(m), 2 and 3551
    Horse" and "Horse," and                           et seq.; T.21, U.S.C., $$ 8a1(a)(1),
 COREY WILLIAMS,                                      84r (bx1)(c), 841 (bx1)(D), 846,
    also known as "Moncler                            853(a) and 853(p) ; T . 28, U.S.C.,
    Mellz," "Moncler" and "Mellz,"                    $ 2461(c))

                         Defendants.

                                         x
  THE GRAND JURY CHARGES:

                             INTRODUCTION TO ALL COLINTS

                At all times relevant to this Superseding Indictment, unless otherwise
  indicated:

                                         The Enterprise

                 1.    The Bamalife gang (hereinafter, "Bamalife" or the "Enterprise") was a

  gang comprised primarily of individuals residing in and around the East New York
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 neighborhood of Brooklyn, New York, which included members of the Bloods street gang.

 Bamalife was, at times, also referred to as the "Cocky Bama Bullies" or    "CBB."    Members

 and associates of the Enterprise have engaged in fraud, narcotics trafficking and acts   of

 violence, including acts involving murder and assault.

                2.     Bamalife, including its leaders, members and associates, constituted an

 "enterprise" as defined in Title 18, United States Code, Sections 196l(4) and 1959(b)(2), that

 is, a group of individuals associated in fact that engaged in, and the activities of which

 affected, interstate and foreign commerce. The Enterprise constituted an ongoing

 organization whose members functioned as a continuing unit for a common purpose          of

 achieving the objectives of the Enterprise.

                3.     Bamalife, through its members and associates, engaged in racketeering

 activity as defined in Title 18, United States Code, Sections 1959(bX1) and 1961(l), namely,

 acts involving murder chargeable under the New York Penal Law and punishable by

 imprisonment for more than one year; offenses involving the felonious manufacture,

 importation, receiving, concealment, buying, selling and otherwise dealing in controlled

 substances, in violation of Title 21, United States Code, Sections 841 and 846; and acts

 indictable under Title 18, United States Code, Section 1028 (relating to fraud and related

 activity in connection with identification documents), Section 1029 (relating to fraud and

 related activity in connection with access devices) and Section 1344 (relating to financial

 institution fraud).
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                                       Purposes of the Enterprise

                4.      The purposes of the Enterprise included the following:

                        (a)    promoting and enhancing the prestige, reputation and position of

 the Enterprise with respect to rival criminal organizations;

                        (b)    preserving and protecting the power and territory of the

 Enterprise through the use of intimidation, threats of violence and acts of violence, including

 murder and assault;

                        (c)    keeping victims and rivals in fear of the Enterprise and its

 members and associates; and

                        (d)     enriching the members and associates of the Enterprise through

 criminal activity, including fraud, identity theft and drug trafficking.

                               Means and              of the Enterorise

                5.      Among the means and methods by which members of the Enterprise

 and their associates conducted and participated in the conduct of the affairs of the Enterprise

 were the following:

                        (a)     Members of the Enterprise and their associates used, attempted

 to use and conspired to use fraud, identity theft and drug trafficking as means of obtaining

 money.

                        (b)     Members of the Enterprise and their associates committed,

  attempted to commit, threatened to commit and conspired to commit acts of violence,

  including acts involving murder and assault, to enhance the Enterprise's prestige and to

 protect the Enterprise's territory.
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                      (c)         Members of the Enterprise and their associates used and

 threatened to use physical violence against various individuals, including members of rival

 criminal organizations.

                                             The Defendants

               6.      The defendants DARzuUS SUTTON, also known as "Darius Sutton"

  and"BlizzMeecho," TRAVA SELBY, also known as "Stoney," ANDREW SIMPSON, also

 known as "Drew" and "Drewski," TYSHAWN SUMPTER, also known as "GT" and

 "Bamalife GT," RONNIE WARREN, also known as "Bossman Horse" and "Horse," and

 COREY WILLIAMS, also known as "Moncler Mellz," "Moncler" and "Mellz," were

 members and associates of the Enterprise.



                                        ,*u"ooffiiracy)
               7.         The allegations contained in paragraphs one through six are realleged

 and incorporated as if   fully   set forth in this paragraph.

               8.         In or about and between20l4 and the present, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendants DARRIUS SUTTON, also known as "Darius Sutton" and"Blizz Meecho,"

 TRAVA SELBY, also known            as "Stoney,"   ANDREW SIMPSON, also known as "Drew"

 and "Drewski," TYSHAWN SUMPTER, also known as'oGT" and "Bamalife GT," RONNIE

 WARREN, also known as "Bossman Horse" and "Horse," and COREY MLLIAMS, also

 known as "Moncler Mellz," "Moncler" and "Mellz," together with others, being persons

 employed by and associated with Bamalife, an enterprise that engaged in, and the activities

 of which affected, interstate and foreign commerce, did knowingly and intentionally conspire
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 to violate Title 18, United States Code, Section 1962(c), that is, to conduct and participate,

 directly and indirectly, in the conduct of the affairs of that enterprise through a pattern                    of

 racketeering activity, as defined in Title 18, United States Code, Sections 1961(1) and

 1   96 l (5).


                  9.         The pattern of racketeering activity through which the defendants

 DARRIUS SUTTON, TRAVA SELBY, ANDREW SIMPSON, TYSHAWN SUMPTER,

 COREY WILIAMS and RONNIE WARREN, together with others, agreed to conduct and

 participate, directly and indirectly, in the conduct of the affairs of the Enterprise consisted                       of

 (a) multiple acts indictable under (i)         Title   18, United States Code, Section 1028 (fraud and


 related activity in connection with identification documents), (ii) Title 18, United States

 Code, Section 1029 (fraud and related activity in connection with access devices), and (iii)

 Title    18, United States Code, Section 1344 (bank fraud); (b) multiple acts                      involving murder,

  in violation of New York State Penal Law Sectio ns 125 .25,            11   0.00,   1   05   .1   5 and 20.00; and


  (c) multiple offenses involving dealing in controlled substances, in violation of Title 21,

  United States Code, Sections 841 and 846. It was a part of the conspiracy that each defendant

  agreed that a conspirator would commit at least two acts of racketeering activity in the

  conduct of the affairs of the Enterprise.

                   (Title   18, United States Code, Sections 1962(d),1963 and 3551 et ggq.)

                                              COUNT TWO
                              (Conspiracy to Murder Members of Weez Gang)

                   10.       The allegations contained in paragraphs one through six are realleged

  and incorporated as       if fully   set forth in this paragraph.
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                1   1.   In or about and between2}l4 and the present, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendants DARRIUS SUTTON, also known as "Darius Sutton" and"Blizz Meecho,"

 ANDREW SIMPSON, also known as "Drew" and "Drewski," TYSHAWN SUMPTER, also

 known as "GT and "Bamalife GT," and COREY WILLIAMS, also known as "Moncler

 Mellz," "Moncler" and "Mellz," together with others, for the purpose of maintaining and

 increasing position in Bamalife, an enterprise engaged in racketeering activity, did

 knowingly and intentionally conspire to murder one or more individuals, to wit: members

 and associates of the Weez Gang in Brooklyn, New York, in violation of New York Penal

 Law Sections 125.25(1) and 105.15.

                (Title   18, United States Code, Sections 1959(a)(5) and 3551 et Sgg')

                                          COLINT THREE
                                 (Conspiracy to Murder John Doe 1)

                12.      The allegations contained in paragraphs one through six are realleged

  and incorporated herein as   if fully   set forth in this paragraph.

                13.      In or about and between2016 and the present, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendants DARRIUS SUTTON, also known as "Darius Sutton" and"Blizz Meecho,"

  TRAVA SELBY, also known          as "Stoney,"    ANDREW SIMPSON, also known as "Drew"

  and "Drewski," RONNIE WARREN, also known aS "BoSSman Horse" and "Horse," and

  COREY WILLIAMS, also known as "MonclerMellz," "Moncler" and "Mellz," together

  with others, for the putpose of maintaining and increasing position in Bamalife, an enterprise

  engaged in racketeering activity, did knowingly and intentionally conspire to murder John
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 Doe 1, an individual whose identity is known to the Grand Jury, in violation of New York

 Penal Law Sections 125.25(l) and 105.15.

                     (Title   18, United States Code, Sections 1959(a)(5) and 3551 et sgg.)

                                             COI-INT FOUR
                      (Conspiracy to Assault John Doe I with a Dangerous Weapon)

                     14.       The allegations contained in paragraphs one through six are realleged

 and incorporated herein as if              fully   set forth in this paragraph.


                     15.       In or about and between20l6 and the present, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

 defendants DARzuUS SUTTON, also known as "Darius Sutton" and"Blizz Meecho,"

 TRAVA SELBY, also known                     as "Stoney,"        ANDREW SIMPSON, also known as "Dfew"

  and "Drewski," RONNIE WARREN, also known aS "Bossman Horse" and "Horse," and

  COREY WILLIAMS, also known as "Moncler Mellz," "Moncler" and "Mellz," together

  with others, for the purpose of maintaining and increasing position in Bamalife, an enterprise

  engaged in racketeering activity, did knowingly and intentionally conspire to assault John

  Doe   1   with   a dangerous weapon,              in violation of New York Penal law Sections 120.05(2) and

  10s.0s(1).

                     (Title   18, United States Code, Sections 1959(a)(6) and 3551 et ggq')



                               (   c onsp   iracr    ro,   ffi      ffo,r*   IIe   d S ub stanc   es   )

                     16.       In or about and between2019 and January 2021, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant COREY             MLLIAMS,              also known as   "MonclerMellz," "Moncler" and "Mellz,"
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 together with others, did knowingly and intentionally conspire to distribute and possess with

 intent to distribute one or more controlled substances, which offense involved (a) a substance

 containing oxycodone, a Schedule II controlled substance, and (b) a substance containing

 marijuana, a Schedule I controlled substance, contrary to Title 21, United States Code,

 Section 841(aX1).

                (Title 2l,llnited states code, Sections 846, 841(bX1XC) and 841(b)(1XD);

 Title 18, United States Code, Section 3551 et seq.)

                                           COUNT SIX
                         (Possession with Intent to Distribute Oxycodone)

                17   .   In or about and between2}lg and August 11,2021, within the Eastern

 District of New York and elsewhere, the defendant COREY WILLIAMS, also known              as


 "Moncler Mellz," "Moncler" and "Mellz," together with others, did knowingly and

 intentionally possess with intent to distribute a controlled substance, which offense involved

 a substance containing oxycodone, a Schedule     II controlled   substance.

                (Title 21, United States Code, Sections 8a1(aX1) and 8a1@)(1XC); Title      18,


 United States Code, Sections 2 and 3551 et ggg.)

                                            UNT
                 (Use of a Firearm in Connection with Drug Trafficking Crimes)

                18.      In or about and between2}l9 and August 11,2027, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant COREY WILLIAMS, also known as "MonclerMellz," "Moncler" and "Mellz,"

 together with others, did knowingly and intentionally use and carry one or more firearms

  during and in relation to one or more drug trafficking crimes, to wit: the crimes charged in
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 Counts Five and Six, and did knowingly and intentionally possess such firearms m

 furtherance of said drug traffrcking crimes.

                (Title   18, United States Code, Sections   92a(cXlXA)(i),2 and 3551 et Seq.)

                                          COLINT EIGHT
                                      (Bank Fraud ConsPiracY)

                lg.      The defendants RONNIE WARREN, also known as "Bossman Horse"

 and "Horse," and COREY        WILLIAMS, also known         as   "Moncler Mellz," "Moncler" and

 "Mellz," together with others, participated in bank fraud through the use of fraudulent

 checks. The checks appeared to be issued by legitimate businesses, when in fact they were

 created by WARREN,        WILLIAMS and others. WARREN, WILLIAMS and others

 deposited the fraudulent checks into bank accounts, and thereafter WARREN,           WILLIAMS

 and others withdrew funds from those bank accounts.

                20.       On or about and between May 1,2019 and May 3,2019, both dates

 being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendants WARREN and WILLIAMS, together with others, did knowingly and

  intentionally conspire to execute a scheme and artifice to defraud one or more financial

  institutions, to wit: TD Bank, N.A., and Valley National Bancorp, the deposits of which were

  insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, credits,

  assets and other property owned by and under the custody and control        of such financial

  institutions by means of one or more materially false and fraudulent pretenses,

  representations and promises, contrary to Title 18, United States Code, Section 1344.

                (Title   18, United States Code, Sections 1349 artd 3551 et 59q.)
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                                             COUNT NINE
                                       (Aggravated Identity Theft)

                 21.      On or about and between May 1,2019 and May 3,2019, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendants RONNIE WARREN, also known             aS   "BoSSman Horse" and "Horse," and COREY


  WILLIAMS, also known        as   "Moncler Mellz," "Moncler" and "Mellz," together with others,

  during and in relation to the offense charged in Count Eight, did knowingly and intentionally

  transfer, possess and use, without lawful authority, one or more means of identification   of

  Jane Doe 1, an individual whose identity is known to the Grand Jury, knowing that the means

  of identification belonged to another person.

                 (Title   18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(5),

  2 and 3551 et seg.)

                                             COLINT TEN
                                        (Bank Fraud ConsPiracY)

                 22.      The allegations contained in paragraph 19 are realleged and

  incorporated as if fully set forth in this paragraph.

                 23.       On or about and between June 6,2019 and June 14,2019, both dates

  being approximate and inclusive, within the Eastem District of New York and elsewhere, the

  defendants WARREN and         WLLIAMS, together with others, did knowingly      and


  intentionally conspire to execute a scheme and artifice to defraud one or more financial

  institutions, to wit: HSBC Bank USA, N.A., Signature Bank and Teachers Federal Credit

  Union, the deposits of which were insured by the Federal Deposit Insurance Corporation, and

  to obtain moneys, funds, credits, assets and other property owned by and under the custody
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  and control of such financial institutions by means of one or more materially false and

  fraudulent pretenses, representations and promises, contrary to Title 18, United States Code,

  Section 1344.

                  (Title   18, United States Code, Sections 1349 and 3551 et seq.)

                                            COLINT ELEVEN
                                        (Aggravated Identity Theft)

                  24.      In or about June 2019, within the Eastern District of New York and

  elsewhere, the defendants RONNIE WARREN, also known as "Bossman Horse" and

  "Horse," and COREY WILLIAMS, also known as "Moncler Mellz," "Moncler" and

  "Mellz," together with others, during and in relation to the offense charged in Count Ten, did

  knowingly and intentionally transfer, possess and use, without lawful authority, one or more

  means of identification of Jane Doe 2, an individual whose identity is known to the Grand

  Jury, knowing that the means of identification belonged to another person.

                  (Title   18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(5),

  2 arld 3551 et sgq.)

                                                     TWEL
                                          (Bank Fraud Conspiracy)

                  25.       The allegations contained in paragraph 19 are realleged and

  incorporated as if fully set forth in this paragraph.

                  26.       On or about and between June    ll,2019   and June 14,2019, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendants RONNIE WARREN, also known aS'oBossman Horse" and "Horse," and COREY

  WILLIAMS, also known          as   "MonclerMellz," "Moncler" and "Mellz," together with others,
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  did knowingly and intentionally conspire to execute a scheme and artifice to defraud one or

  more financial institutions, to wit: Capital One Bank, N.A. and Sterling National Bank, the

  deposits of which were insured by the Federal Deposit Insurance Corporation, and to obtain

  moneys, funds, credits, assets and other property owned by and under the custody and

  control of such financial institutions by means of one or more materially false and fraudulent

  pretenses, representations and promises, contrary to       Title   18, United States Code, Section


  t344.

                (Title 18, United      States Code, Sections 1349 and 3551 et seq.)

                                          COI.]NT THIRTEEN
                                    (Attempted Murder of John Doe 2)

                27.      The allegations contained in paragraphs one through six are realleged

  and incorporated as   if fully   set forth in this paragraph.

                 28.     On or about August 11,2019, within the Eastern District of New York

  and elsewhere, the defendant DARRIUS SUTTON, also known as "Darius Sutton" and

  "Blizz Meecho," together with others, for the purpose of maintaining and increasing position

  in Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

  attempt to murder John Doe 2, an individual whose identity is known to the Grand Jury, in

  violation of New York Penal Law Sections 125.25(l),1 10.00 and 20.00.

                (Title 18, United      States Code, Sections 1959(a)(5),     2 and 3551 et ggq.)

                                        COI.INT FOURTEEN
                         (Assault of John Doe} With a Dangerous Weapon)

                 29.     The allegations contained in paragraphs one through six are realleged

  and incorporated as   if fully   set forth in this paragraph.
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                30.      On or about August 11,2019, within the Eastern District of New York

  and elsewhere, the defendant DARRIUS SUTTON, also known as "Darius Sutton" and

  "BlizzMeecho," together with others, for the purpose of maintaining and increasing position

  in Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

  assault John Doe 2 with a dangerous weapon, in violation of New York Penal Law Sections

  120.05(2) and 20.00.

                (Title   18, United States Code, Sections 1959(a)(3),         2   and 3551 et      gq.)

                                      COUNT FIFTEEN
        (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                31.          On or about August 11,2019, within the Eastern District of New York

  and elsewhere, the defendant DARRIUS SUTTON, also known as "Darius Sutton" and

  "BlizzMeecho," together with others, did knowingly and intentionally use and carry a

  firearm during and in relation to one or more crimes of violence, to wit: the crimes charged

  in Counts Eleven and Twelve, and did knowingly and intentionally possess such firearm in

  furtherance of said crimes of violence, which firearm was brandished and discharged.

                (Title   1   8, United States Code, Sections 92a(c)(   1   )(A)(i),   92a@)(   1   XAXii),

  92a@)Q)@Xiii), 2 and 3551 et sss.)

                                            COLINT SIXTEEN
                                   (Felon in Possession of Ammunition)

                 32.         On or about August 11,2019, within the Eastern District of New York

  and elsewhere, the defendant DARRIUS SUTTON, also known as "Darius Sutton" and

  "Blizz Meecho," knowing that he had previously been convicted in a court of one or more

  crimes punishable by a term of imprisonment exceeding one year, did knowingly and
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  intentionally possess in and affecting commerce ammunition, to wit: .380 caliber Remington-

  Peters ammunition and .380 caliber Prvi Pafiizan ammunition.

                (Title 18, United      States Code, Sections      922(g)(I),92a@)Q) and 3551 et seq.)

                                          COUNT SEVENTEEN
                                   (Felon in Possession of Ammunition)

                33.      On or about April 20, 2020, within the Eastern District of New York

  and elsewhere, the defendant DARzuUS SUTTON, also known as "Darius Sutton" and

  "BlizzMeecho," knowing that he had previously been convicted in               a   court of one or more

  crimes punishable by a term of imprisonment exceeding one year, did knowingly and

  intentionally possess in and affecting commerce ammunition, to wit: 9mm Luger caliber

  Federal Cartridge ammunition and .380 auto caliber Winchester ammunition.

                (Title   18, United States Code, Sections         922(g)(l),92a@)Q) and 3551 et seq.)

                                          COUNT EIGHTEEN
                                    (Attempted Murder of John Doe 3)

                34.        The allegations contained in paragraphs one through six are realleged

  and incorporated as if   fully   set forth in this paragraph.

                35.        On or about May 16, 2020, within the Eastern District of New York

  and elsewhere, the defendants DARRIUS SUTTON, also known as "Darius Sutton" and

  "BlizzMeecho," and TYSHAWN SUMPTER, also known                       as   "GT" and "Bamalife GT,"

  together with others, for the purpose of maintaining and increasing position in Bamalife, an

  enterprise engaged in racketeering activity, did knowingly and intentionally attempt to
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  murder John Doe 3, an individual whose identity is known to the Grand Jury, in violation          of

  New York Penal Law Sections 125.25(l), 110.00 and 20.00.

                  (Title   18, United States Code, Sections 1959(a)(5),     2   and 3551 et59q.)


                                          COUNT NINETEEN
                           (Assault of John Doe 3 With a Dangerous Weapon)

                  36.       The allegations contained in paragraphs one through six are realleged

  and incorporated as      if fully   set forth in this paragraph.

                  37.       On or about May 16, 2020, within the Eastern District of New York

  and elsewhere, the defendants DARRIUS SUTTON, also known as "Darius Sutton" and

  "BlizzMeecho," and TYSHAWN SUMPTER, also known as "GT" and "Bamalife GT,"

  together with others, for the purpose of maintaining and increasing position in Bamalife, an

  enterprise engaged in racketeering activity, did knowingly and intentionally assault John Doe

  3 with a dangerous weapon, in violation of New York Penal Law Sections 120.05(2) and

  20.00.

                  (Title    18, United States Code, Sections 1959(a)(3),     2 and 3551 et seq.)

                                        COLINT TWENTY
           (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                  38.        On or about May 16, 2020,within the Eastern District of New York

  and elsewhere, the defendants DARRIUS SUTTON, also known as "Darius Sutton" and

  "BlizzMeecho," and TYSHAWN SUMPTER, also known                     as   "GT" and "Bamalife GT,"

  together with others, did knowingly and intentionally use and carry a firearm during and in

  relation to one or more crimes of violence, to wit: the crimes charged in Counts Sixteen and
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  Seventeen, and did knowingly and intentionally possess such firearm in furtherance of said

  crimes of violence, which firearm was brandished and discharged.

                (Title 1 8, United States Code, Sections 92a(c)( 1 XA)(i),         92a@)(   1   )(AXii),

  92a(c)(l)(Axiii),   2 and 3551 et seq.)

                                          COLTNT TWENTY-ONE
                                    (Felon in Possession of Ammunition)

                39.       On or about May 16, 2o2\,within the Eastern District of New York

  and elsewhere, the defendant DARRIUS SUTTON, also known as "Darius Sutton" and

  "BlizzMeecho," knowing that he had previously been convicted in              a   court of one or more

  crimes punishable by a term of imprisonment exceeding one year, did knowingly and

  intentionally possess in and affecting commerce ammunition, to wit: 9mm Luger caliber

  PMC ammunition.

                (Title   18, United States Code, Sections          922(g)(l),92a@)Q) and 3551 et seg.)

                                          COI.]NT TWENTY-TWO
                                     (Attempted Murder of John Doe 4)

                 40.      The allegations contained in paragraphs one through six are realleged

  and incorporated as    if fully   set forth in this paragraph.

                 41.      On or about July 14, 2020, within the Eastern District of New York and

  elsewhere, the defendants DARRIUS SUTTON, also known as "Darius Sutton"                         and"Blizz

  Meecho," and TYSHAWN SUMPTER, also known as "GT" and "Bamalife GT," together

  with others, for the purpose of maintaining and increasing position in Bamalife, an enterprise

  engaged in racketeering activity, did knowingly and intentionally attempt to murder John
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                                                                                                  t7


  Doe 4, an individual whose identity is known to the Grand Jury, in violation of New York

  Penal Law Sections 125.25(l), 110.00 and 20.00.

                (Title   18, United States Code, Sections 1959(a)(5),    2   and 3551 et seq.)


                                     COUNT TWENTY-THREE
                         (Assault of John Doe 4 With a Dangerous Weapon)

                42.       The allegations contained in paragraphs one through six are realleged

  and incorporated as    if fully   set forth in this paragraph.


                43.       On or about July 14, 2}z},within the Eastern District of New York and

  elsewhere, the defendants DARRIUS SUTTON, also known as "Darius Sutton" and"Bhzz

  Meecho," and TYSHAWN SUMPTER, also known as "GT" and "Bamalife GT," together

  with others, for the pu{pose of maintaining and increasing position in Bamalife, an enterprise

  engaged in racketeering activity, did knowingly and intentionally assault John Doe 4 with a

  dangerous weapon, in violation of New York Penal Law Sections 120.05(2) and 20.00.

                (Title    18, United States code, Sections 1959(a)(3),   2 and 3551 et ggq.)

                                  COUNT TWENTY-FOUR
        (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                 44.       On or about July 14, 2\2o,within the Eastern District of New York and

  elsewhere, the defendants DARRIUS SUTTON, also known as "Darius Sutton"                 and"Blizz

  Meecho," and TYSHAWN SUMPTER, also known as "GT" and "Bamalife GT," together

  with others, did knowingly and intentionally use and carry a firearm during and in relation to

  one or more crimes of violence, to wit: the crimes charged in Counts Twenty and Twenty-
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  One, and did knowingly and intentionally possess such f,trearm in furtherance of said crimes

  of violence, which firearm was brandished and discharged.

                  (Title   1   8, United States Code, Sections 92a(c)(   1   )(A)(i),   92a@)( I XAXii),


  92a(cXlXA)(iiD, 2 and 3551 et seg.)


                                      (Counterfeit Access Device Fraud)

                  45.          On or about and between September 16,2020 and March              9,202l,both

  dates being approximate and inclusive, within the Eastern District of New York and

  elsewhere, the defendant TYSHAWN SUMPTER, also known as                        "GT" and "Bamalife GT,"

  together with others, did knowingly and with intent to defraud produce, use and traffic in a

  counterfeit access device, to wit: a counterfeit Key Bank debit card, in a manner affecting

  interstate and foreign corlmerce.

                  (Title   18, United States code, Sections 1029(a)(1),          1029(cXlXAXi), 2 and

  3551 et ssg.)

                                          COLINT            -sIX
                                     (Unauthorized Access Device Fraud)

                   46.         On or about and between September 16,2020 and March               9,202l,both

  dates being approximate and inclusive,         within the Eastern District of New York and

  elsewhere, the defendant TYSHAWN SUMPTER, also known as "GT" and "Bamalife GT,"

  together with others, did knowingly and with intent to defraud traffic in and use one or more

  unauthorized access devices, to wit: a social security number belonging to John Doe 5, an

  individual whose identity is known to the Grand Jury, and a Key Bank debit card, and by
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                                                                                                    t9


  such conduct did obtain one or more things of value aggregating $1,000 or more during a

  one-year period, in a manner affecting interstate and foreign conlmerce.

                  (Title   18, United States Code, Sections 1029(a)(2),1029(c)(1)(A)(i),   2 and

  3551 et geq.)

                                      COUNT TWENTY-SEVEN
                                      (Aggravated Identity Theft)

                  47.      On or about and between September 76,2020 and March        9,202l,both

  dates being approximate and inclusive,     within the Eastern District of New York and

  elsewhere, the defendant TYSHAWN SUMPTER, also known as "GT" and "Bamalife GT,"

  together with others, during and in relation to the crimes charged in Counts Twenty-Three

  and Twenty-Four, did knowingly and intentionally transfer, possess and use, without          la*ful

  authority, a means of identification of another person, to wit: a social security number

  belonging to John Doe 5, knowing that the means of identification belonged to another

  pelson.

                  (Title   18, United States Code, Sections 102SA(a)(1), 1028A(b), 1028A(c)(4),

  2 and 3551 et seg.)

                                       COTJNT TWENTY-EIGHT
                             (Attempted Unauthorized Access Device Fraud)

                  48.       In or about November 2020, within the Eastern District of New York

  and elsewhere, the defendant COREY         WILLIAMS, also known      as   "Moncler Mellz,"

  o'Moncler" and "Mellz," together with others, did knowingly and with intent to defraud


  attempt to effect transactions with one or more access devices, to wit: PayPal account

  numbers, issued to one or more other persons, to receive payments and other things of value
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                                                                                                             20


  during a one-year period, the aggregate value of which exceeded $1,000, in a manner

  affecting interstate commerce.

                      (Title 18, United       States Code, Sections 1029(a)(5), 1029(bX1),


  I 029(c)(   1   XAXiD, I 029(cX   1   X   C), 2 and 3 55 1 et seq.)



                                               (Aggravated Identity Theft)

                      49.      In or about November 2\2o,within the Eastern District of New York

  and elsewhere, the defendant COREY                 WILLIAMS, also known          as   "Moncler Mellz,"

  "Moncler" and "Mellz," together with others, during and in relation to the offense charged in

  Count Twenty-Six, did knowingly and intentionally transfer, possess and use, without lawful

  authority, one or more means of identification of Jane Doe 3, an individual whose identity is

  known to the Grand Jury, knowing that the means of identification belonged to another

  person.

                      (Title   18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(5),

  2 and 3551 et sgg.)

                                                   COLINT THIRTY
                                            (Fraudulent Use of Identification)

                      50.       In or about January 2021, within the Eastern District of New York and

  elsewhere, the defendant COREY                 WILLIAMS, also known        as   "MonclerMellz," "Moncler"

  and   "Mellz," together with others, did knowingly and intentionally transfer,                possess and use,


  without la,*fiil authority and in and affecting interstate and foreign commerce, one or more

  means of identification of another person, with the intent to commit, and aid and abet, and in
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                                                                                                  2t


  connection with, unlawful activity that constituted one or more violations of Federal law, to

  wit: wire fraud, in violation of Title      18, United States Code, Section 1343.

                  (Title   18, United States Code, Sections 1028(a)(7), 1028(b)(2XB),


  102S(oX3XA),2 and 3551 et 5eq.)

                                   COLINT THIRTY-ONE
                   (Attempted Murder in the Vicinity of 1093 Putnam Avenue)

                 51.       The allegations contained in paragraphs one through six are realleged

  and incorporated as if    fully    set forth in this paragraph.


                  52.      On or about February 6,2021, within the Eastern District of New York

  and elsewhere, the defendant TYSHAWN SUMPTER, also known as "GT" and "Bamalife

  GT," together with others, for the purpose of maintaining and increasing position in

  Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally

  attempt to murder one or more individuals in the vicinity of 1093 Putnam Avenue, in

  violation of New York Penal Law Sections 125.25(l),110.00 and 20.00.

                 (Title    18, United States code, Sections 1959(a)(5),    2 arld 3551 et 59q.)

                                            COUNT    -TWO
     (Attempted Assault in the Vicinity of 1093 Putnam Avenue with a Dangerous Weapon)

                  53.      The allegations contained in paragraphs one through six are realleged

  and incorporated as     if fully   set forth in this paragraph.

                  54.      On or about February 6,2021, within the Eastern District of New York

  and elsewhere, the defendant TYSHAWN SUMPTER, also known as                   "GT" and "Bamalife

  GT," together with others, for the purpose of maintaining and increasing position in

  Bamalife, an enterprise engaged in racketeering activity, did knowingly and intentionally
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                                                                                                             22


  attempt to assault one or more individuals in the vicinity of 1093 Putnam Avenue with a

  dangerous weapon, in violation of New York Penal Law Sections 120.05(2) and 20.00.

                (Title   18, United States Code, Sections 1959(a)(6),         2 and 3551 et ggg.)

                                          THIR
        (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                55.      On or about February 6,2021, within the Eastern District of New York

  and elsewhere, the defendant TYSHAWN SUMPTER, also known as "GT" and "Bamalife

  GT," together with others, did knowingly and intentionally use and carry              a   firearm during

  and in relation to one or more crimes of violence, to wit: the crimes charged in Counts

  Twenty-Eight and Twenty-Nine, and did knowingly and intentionally possess such firearm in

  furtherance of said crimes of violence, which firearm was brandished and discharged.

                (Title   1   8, United States Code, Sections 92a(c)(   1   )(A)(i),   92a@)( I XA)(ii),


  92a@)QXA)(iii). 2 and 3551 et ses.)

                                         COUNT THIRTY-FOUR
                                   (Felon in Possession of Ammunition)

                 56.         On or about February 6,202I, within the Eastern District of New York

  and elsewhere, the defendant TYSHAWN SUMPTER, also known as'oGT" and "Bamalife

  GT," knowing that he had previously been convicted in a court of one or more crimes

  punishable by a term of imprisonment exceeding one year, did knowingly and intentionally

  possess in and affecting commerce ammunition, to        wit: four .40 S&W caliber Winchester

  cartridges and one .40 caliber S&W caliber Federal Ammunition cartridge.

                (Title   18, United States Code, Sections    922(g)(l),92a@)Q) and 3551 et sgq.)
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                                                                                                   Z)


                                            THIRTY-FIVE
                                            COI.JNT
                 (Conspiracy to Murder in the Vicinity of 927 Dekalb Avenue)

                57.        The allegations contained in paragraphs one through six are realleged

  and incorporated as   if fully     set forth in this paragraph.

                58.        In or about August 2o2l,within the Eastern District of New York and
                                                                                   o'Drewski,"
  elsewhere, the defendant ANDREW SIMPSON, also known as "Drew" and

  together with others, for the purpose of maintaining and increasing position in Bamalife, an

  enterprise engaged in racketeering activity, did knowingly and intentionally conspire to

  murder one or more individuals in the vicinity of 927 Dekalb Avenue in Brooklyn, New

  York, in violation of New York Penal Law Sections 125.25(l) and 105.15.

                (Title    18, United States Code, Sections 1959(a)(5) and 3551 et   sq.)

                                   COI-INT THIRTY-SX
                    (Attempted Murder in the Vicinity of 927 Dekalb Avenue)

                 59.       The allegations contained in paragraphs one through six are realleged

  and incorporated as     if fully   set forth in this paragraph.


                60.        On or about August 16,2021, within the Eastern District of New York

  and elsewhere, the defendant ANDREW SIMPSON, also known as "Drew" and "Drewski,"

  together with others, for the purpose of maintaining and increasing position in Bamalife, an

  enterprise engaged in racketeering activity, did knowingly and intentionally attempt to

  murder one or more individuals in the vicinity of 927 Dekalb Avenue in Brooklyn, New

  York, in violation of New York Penal Law Sections 125.25(l), 110.00 and 20.00.

                 (Title   18, United States Code, Sections 1959(a)(5),   2 and 3551 et ggg.)
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                                        COLTNT THIRTY-SEVEN
           (Assault with a Dangerous Weapon in the Vicinity of 927 Dekalb Avenue)

                61.      The allegations contained in paragraphs one through six are realleged

  and incorporated as   if fully   set forth in this paragraph.

                62.      On or about August 16,2021, within the Eastern District of New York

  and elsewhere, the defendant ANDREW SIMPSON, also known as "Drew" and "Drewski,"

  together with others, for the purpose of maintaining and increasing position in Bamalife, an

  enterprise engaged in racketeering activity, did knowingly and intentionally assault with a

  dangerous weapon one or more individuals in the          vicinity of 927 Dekalb Avenue in

  Brooklyn, New York, in violation of New York Penal Law Sections 120.05(2) and 20.00.

                (Title   18, United States Code, Sections 1959(a)(3),     2   and 3551 et seq.)


                                         COI-JNT THIRTY-EIGHT
        (Possessing, Brandishing and Discharging a Firearm During Crimes of Violence)

                 63.      On or about August 16,202I, within the Eastern District of New York

  and elsewhere, the defendant ANDREW SIMPSON, also known as                  "Drew" and "Drewski,"

  together with others, did knowingly and intentionally use and cany a firearm during and in

  relation to one or more crimes of violence, to wit: the crimes charged in Counts Thirty-Three

  and Thirty-Four, and did knowingly and intentionally possess such firearm in furtherance        of

  said crimes of violence, which firearm was brandished and discharged.

                (Title 1 8, United States Code, Sections 92a(c)( I )(A)(i), 924(c)( 1 XAXii),

  92a@)0)(Axiii), 2 and 3551 et seq.)
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                                       COUNT THIRTY.NINE
                                  (Felon in Possession of a Firearm)

                64.      On or about Apri126,2022, within the District of New Jersey, the

  defendant ANDREW SIMPSON, also known as "Drew" and "Drewski," knowing that he

  had previously been convicted in a court of one or more crimes punishable by a term           of

  imprisonment exceeding one year, did knowingly and intentionally possess in and affecting

  conrmerce a firearm, to wit: a Glock model 22 .40 caliber pistol bearing serial number

  VMA788.

                (Title   18, United States Code, Sections   922(g)(l),92a@)Q) and 3551 et Sgg.)

                             CRIMINAL FORFEITURE ALLEGATION
                                    AS TO COI.NT ONE

                 65.     The United States hereby gives notice to the defendants charged in

  Count One that, upon their conviction of such offense, the government         will   seek forfeiture   in

  accordance with   Title   18, United States Code, Section 1963(a), which requires any person


  convicted of such offense to forfeit: (a) any interest the person acquired or maintained in

  violation of Title 18, United States Code, Section 1962; (b) any interest in, security of, claim

  against, or property or contractual right   ofany kind affording   a source   ofinfluence over, any

  enterprise which the person has established, operated, controlled, conducted or participated

  in the conduct of, in violation of Title 18, United States Code, Section 1962; arrd (c) any

  property constituting, or derived from, any proceeds which the person obtained, directly or

  indirectly, from racketeering activity in violation of Title 18, United States Code, Section

  1962.
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                 66.       If any of the above-described forfeitable property, as a result of any act

  or omission of the defendants:

                           (a)     cannot be located upon the exercise ofdue diligence;

                           (b)     has been transferred or sold to, or deposited    with,   a   third party;

                           (c)     has been placed beyond the jurisdiction of the court;

                           (d)     has been substantially diminished in value; or

                           (e)     has been commingled with other property which cannot be

  divided without diffi culty;

  it is the intent of the United   States, pursuant to   Title   18, United States Code, Section


  1963(m), to seek forfeiture of any other property of the defendants up to the value of the

  forfeitable property described in this forfeiture allegation.

                  (Title   18, United States Code, Sections 1963(a) and 1963(m))

                              CRIMINAL FORFEITURE ALLEGATION
                                 AS TO COLINTS FIVE AND SIX

                  67.      The United States hereby gives notice to the defendant charged in

  Counts Five and Six that, upon his conviction of either such offense, the government               will

  seek forfeiture in accordance     with Title2I,United States Code, Section 853(a), which

  requires any person convicted ofsuch offenses to forfeit: (a) any property constituting, or

  derived from, any proceeds obtained directly or indirectly as the result of such offenses; and

  (b) any property used, or intended to be used, in any manner or part, to commit, or to

  facilitate the commission of, such offenses.
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                                                                                                         27


                  68.    If any of the above-described forfeitable property, as a result of any act

  or omission of the defendant:

                         (a)    cannot be located upon the exercise ofdue diligence;

                         (b)    has been transferred or sold to, or deposited     with,   a   third party;

                         (c)    has been placed beyond the       jurisdiction of the court;

                         (d)    has been substantially diminished in value; or

                         (e)    has been commingled with other property which cannot be

  divided without difficulty;

  it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

  to seek forfeiture of any other property of the defendant up to the value of the forfeitable

  property described in this forfeiture allegation.

                  (Title 21, United States Code, Sections 853(a) and 853(p))

                         CRIMINAL FORFEITURE ALLEGATION
         AS TO COTJNTS SEVEN, THIRTEEN THROUGH TWENTY-FOUR, THIRTY.ONE
                  G                                         TY

                   69.    The United States hereby gives notice to the defendants charged in

  Counts Seven, Thirteen through Twenty-Four, Thirty-One through Thirty-Four and Thirty-

  Six through Thirty-Nine that, upon their conviction of any such offenses, the government

  will   seek forfeiture in accordance with   Title   18, United States Code, Section 924(d)(1) and


  Title 28, United States Code, Section 2461(c),which require the forfeiture of any firearm or

  ammunition involved in or used in any knowing violation of Title 18, United States Code,

  Section 922 or Section 924, or any violation of any other criminal law of the United States.
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                                                                                                       28


                 70.       If any of the above-described forfeitable property, as a result of any act

  or omission of the defendants:

                           (a)     cannot be located upon the exercise ofdue diligence;

                           (b)     has been transferred or sold to, or deposited with, a third party;

                           (c)     has been placed beyond thejurisdiction      ofthe court;

                           (d)     has been substantially diminished in value; or

                           (e)     has been commingled      with other property which cannot be

  divided without difficulty;

  it is the intent of the United   States, pursuant to   Title 21, United States Code, Section 853(p),

  to seek forfeiture of any other property of the defendants up to the value of the forfeitable

  property described in this forfeiture allegation.

                  (Title   18, United States Code, Section     92a@)0);Title2l, United     States Code,


  Section 853(p); Title 28, United States Code, Section 2a6I@))

                             CRIMINAL FORFEITURE ALLEGATION
                            AS TO COLINTS EIGHT. TEN AND TWELVE

                  71.      The United States hereby gives notice to the defendants charged in

  Counts Eight, Ten and Twelve that, upon their conviction of any such offenses, the

  government    will   seek forfeiture in accordance with    Title   18, United States Code, Section


  982(a)(2), which requires any person convicted of such offenses to forfeit any property

  constituting, or derived from, proceeds obtained directly or indirectly as a result of such

  offenses.
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                                                                                                         29


                 72.       If any of the above-described forfeitable property, as a result of any act

  or omission of the defendants:

                            (a)       cannot be located upon the exercise ofdue diligence;

                            (b)       has been transferred or sold to, or deposited with, a third party;

                            (c)       has been placed beyond the     jurisdiction of the court;

                            (d)       has been substantially diminished in value; or

                            (e)       has been commingled      with other property which cannot be

  divided without diffi culty     ;


  it is the intent of the United      States, pursuant to   Title 21, United States Code, Section 853(p),

  as incorporated by   Title   18, United States Code, Sections 982(bX1), to seek forfeiture of any


  other property of the defendants up to the value of the forfeitable property described in this

  forfeiture allegation.

                  (Title   18, United States code, Sections 9s2(a)(2) and 982(b)(1);         Title 21,

  United States Code, Section 853(p))

                               CRIMINAL FORFEITURE ALLEGATION
                                                    -sIX                                   -EI

                  73.       The United States hereby gives notice to the defendants charged in

  Counts Twenty-Five, Twenty-Six, and Twenty-Eight that, upon their conviction of any such

  offenses, the government        will   seek forfeiture in accordance   with: (a) Title 18, United States

  Code, Section 982(a)(2)(B), which requires any person convicted of such offenses to forfeit

  any property constituting, or derived from, proceeds obtained directly or indirectly as a result

  of such offenses; and (b) Title 1 8, United States Code, Section I 029(c)( 1 )(C), which requires
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                                                                                                     30


  any person convicted of such offenses to forfeit any personal property used or intended to be

  used to commit the offenses.

                 14.     If any of the above-described forfeitable property, as a result of any act

  or omission of the defendants:

                         (a)        cannot be located upon the exercise ofdue diligence;

                         (b)        has been transferred or sold to, or deposited with, a third party;

                         (c)        has been placed beyond the jurisdiction of the court;

                         (d)        has been substantially diminished in value; or

                         (e)        has been commingled with other property which cannot be

  divided without diffi culty   ;


  it is the intent of the United    States, pursuant to   Title 21, United States Code, Section 853(p),

  as incorporated by   Title   18, United States Code, Sections 982(bX1) and 1029(c)(2), to seek
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                                                                                                  31


                                                                                       property
 forfeiture of any other property of the defendants up to the value of the forfeitable

 described in this forfeiture allegation.

                (Title   18,   united States code, Sections 982(a)(2)(B),982(b)(1), 1029(c)(1)(C)

 and 1029(c)(2); Title 21, United States Code, Section 853(p))




                                                                     A TRUE BILL




         BREON PEACE
         UNITED STATES ATTORNEY
         EASTERN DISTRICT OF NEW YORK

  By
         Assistant U.S. AttorneY
 Case 1:20-cr-00323-AMD Document 72 Filed 08/04/22 Page 32 of 32 PageID #: 418




F.#r 2020R0304
FORM DBD.34          No.
JUN. 85


                             UNITED STATES DISTRICT COURT
                                           EASTERN District o/ NEW YORK

                                                        CRIMINAL DIVISION

                                    THE LINITED STATES OF AMEzuCA
                                                                      f.t.


                                                        DARRIUS SUTTON, EtAI.

                                                                                            Defendants.

                                      SUPERSEDING INDICTMBNT
                      (T. 18, U.S.C., $$ 922(e)(l), gza@)Q), e2a(cX I )(A)(i), 924(c)( l)(A)(ii),
                       92a(cXl )(AXiii), 924(dXl ), 982(a)(2), e82(a)(2)(B), e82(bxl), 1028(aX7),
                                                                                              I 028A(c)(s),
                  1028(bX2)(D), 1028(c)(3)(A)' 1028A(aXl ), 1028A(b), I 028A(c)(4),
                 I 029(aXl ), to29(a)(2), I 029(aX5),  I  029(bX1   ), l02e(c)(1 XA)(i), I 02e(c)(1 XA)(ii),
                                     1029(c)(2),1 349,     959(a)(3 ),  1959(aX5), le59(a)(6),   le62(d),
                     I 029(c X XC),
                                I                        1


                       1963, 1963(a) and 1963(m),2 and 3551 et seo.;T.21, U.S.C., $$
                                                                                             8al(aXl),
                                                                 and           T     U           2461 .c))
                    841       I    841

                             A rme bill.

                                                                                                Foreperson

                       Filed in open courl this                              day,
                                                  --   7i 20 ,_
                       of                                         _

                                                                                                     L'lerk




                        Kevin Trowel        &     Nick Axelrod, Assistant LI'S' Atlornqts (718) 254-7000
